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      STATE OF MAINE                                                        SUPERIOR COURT
      COUNTY OF HANCOCK, ss                                                 Docket No. CV-2022-


      MATTHEW THURSTON,                                     )
      Individually and on behalf of others similarly        )
      situated                                              )
                                                                                                             i
                                                            )        FIRST AMENDED
             Plaintiff                                      )        CLASS ACTION COMPLAINT
                                                            )
                     v.                                     )
                                                            )
      PROGRESSIVE CASUALTY INSURANCE                        )
        COMPANY                                             )
                                                            )
                     and                                    )
                                                            )                                            )
                                                                                       f
      UNIFIED FINANCIAL CASUALTY CO.                        )
                                                            )
             Defendants                                     )

         NOW COMES the Plaintiff, Matthew Thurston, by and through counsel, and makes the
      following Complaint individually, and on behalf of a class of persons defined below, against the
      Defendants.
                                                                                   t
                                             INTRODUCTION
                                                                                                             /


         1. The Plaintiff Matthew Thurston, was sold an auto insurance policy by “Progressive.”

         2. The commonly known PROGRESSIVE trademark is registered to Progressive Casualty

             Insurance Company. However, the Plaintiffs policy is underwritten by United Financial

             Casualty Co. The Defendants will be referred to throughout this Complaint as either
                                                                                                         }
             “Defendant,” “Defendants,” or “Progressive.”                              f


         3. As part of the sale. Progressive promised that it would pay him the value of his car if it were

             damaged in an accident

         4. Based on the promises. Plaintiff bought the policy and premiums for an auto insurance

             policy from Progressive.
                                                                              ■.
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  5. On or around January 21, 2022, Plaintiffs car, that was covered Hy the policy was “totaled”

      in a motor vehicle collision.

  6. When it came time for Progressive to honor die promises made in the policy it sold to

      Plaintiff Progressive did not live up to its promises.

  7. Rather than pay Plaintiff the value of his car, Progressive instead chooses to conspire with

      another company and not pay Plaintiff what he is owed.
                                                                                                   >
  8. Progressive hired another company, Mitchell, to appraise Plaintiffs total loss claims. Mitchell

      systematically, and without any reasonable justification, depresses the appraised value of all

      total loss vehicles or coordination with Progressive.

  9. Rather than pay Plaintiff fair value for his car, Progressive relied on Mitchell’s systemic
                                                                         *
      depressed value. .                                                                               /

  10. Instead of Progressive paying fair value as promised to Plaintiff and all other similarly

      situated Mainers, Defendant shorts them and they receive less than what they were

     promised.

                                      PARITIES AND VENUE

  11. The Plaintiff, Matthew Thurston, is a resident on Hancock County, Maine, and has a           ;

     Progressive Auto Policy which he purchased in Maine.

 12. This action is also asserted on behalf of a class consisting of the following:

             All persons who were insured by the Defendant in the State of Maine, for personal

             or family use of a vehicle, in the six years preceding the filing of tins Complaint, who

             were paid or offered compensation for a total loss on thejfr vehicle and the offer wai

             reduced based on a Valuation Report obtained by Defendant that included a

             projected sold adjustment (“the Class”).




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  13. Defendant, Progressive Casualty Insurance Company, has its corporate headquarters located

      at 6300 Wilson Mills Rd, Mayfield Village, OH 44143.

  14. Defendant United Financial Casualty Co. has its corporate headquarters located at 6300

      Wilson Mills Rd, Mayfield Village, OH 44143.

  15. Progressive Casualty Insurance Company and United Financial Casualty Co., are, for all

      practical purposes, part of the Progressive Group of Insurance Companies.

  16. According to its website. Progressive conducts business in Maine and throughout the
                                                                                  J
      country under the brand Progressive or the Progressive Group of Insurance Companies.

  17. Progressive’s website attempts to convey a sense that Progressive can be trusted and that it

      works hard on behalf of its customers. To enter the auto insurance section of Progressive’s

      website, one clicks on a link that says, “buckle up with protectionyou am rely on.”

  18. Thurston never got the protection promised.
                                                                                                                 ;
  19. Progressive also tells customers that, with Progressive, they get “supemr claims servicf* and

      that Progressive will “supportyou every step ofthe way? and tells potential customers to “join us

      today and experience why we're one ofthe best insurance companies."

  20. After making these promises, Progressive unfairly and systematically lowers the value of total

      loss daims it is supposed to pay in Maine.                                                                     /
                                                                                  5
  21. Its annual report states that one of Progressive’s four core values'is integrity, stating “[w]e

      revere honesty and adhere to high ethical standards to gain the trust and confidence ofour customers. We

      value transparenty, encourage disclosing bad news, and welcome disagreement."

  22. Mr. Ihurston’s example, as summarized in this Complaint, is but one Qf many hundreds, if

      not thousands, of such instances where consumers in Maine are getting less than they are

      owed by Progressive for a total loss vehicle.




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                                              PACTS


  23. On January 21,2022, the Plaintiffs vehicle was badly damaged in a collision.

  24. The vehicle was a 2012 Volvo XC70 with VIN #YV4952BL2C1140915.
                                                                                                        /
  25. At die time of the collision, the vehicle was in the process of bei^g transferred from Scott

     Thurston, the Plaintiffs father, to the Plaintiff.

  26. Scott Thurston gave his son the vehicle on or around January 5,2022, in Louisiana, and

     Matthew drove the car to Maine shortly thereafter.

  27. At the time of the collision, the Plaintiff had auto insurance from Progressive.              >

  28. Progressive is obligated to pay for damage to the vehicle under the Pliintiffs collision policy

     because the Defendant had an existing collision policy with Progressive for other vehicles,

     and, consistent with his contract with Progressive, had the option to elect to add any new

     vehicle within thirty (30) days of obtaining the new vehicle.

 29. Plaintiff made a claim for the damage to the Volvo or around Jar^iary 25,2022, and added

     die vehicle to the policy at the same time, which was within the ^0-day “grace period” for

     adding a new vehicle.

 30. Progressive accepted the claim and declared the Plaintiffs* vehicle to be a “total loss” and

     offered to pay the Plaintiff what it claimed was the actual cash value of the vehicle.

 31. Progressive’s offer to pay the Plaintiff for the vehicle was less than the full value it had

     promised to pay.

 32. Plaintiffs situation was not unique because Progressive’s standard practice systemically

     reduces its offer to pay to less than the value of total loss vehicles without any reasonable or

     rational basis.

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  33. Progressive’s standard practice involves obtaining a “Vehicle Vacation Report” (“Valuation

     Report”) from the Defendant’s contractor, often if not always Mitchell, and then using the

     Valuation Report provided by Mitchell (or others) to offer Maine consumers less than the

     value of their total loss vehicle.

  34. Progressive provided a Valuation Report for the Plaintiff on or around February 17,20221

     See Exhibit A.

  35. On information and belief the Valuation Reports related to total-loss vehicles used by

     Progressive during the relevant period in Maine followed the same standard practice that

     provided Plaintiff and others an offer to pay that relied on the use of “Valuation Reports”.

  36. These Valuation Reports start with a list of comparable used vehjples, normally of the same'

     year, and make and model as the vehicle being appraised. The rejorts base the value of the

     vehicle to be appraised upon the advertised prices for comparable vehicles. The report uses

     those advertised prices to create a model of the value of the total loss vehicle.

  37. The report then deviates from the advertised prices of comparable vehicles by claiming to
                                                                                                  }
     adjust those advertised prices to account for differences in equipment, mileage, and vehicle

     configuration to create a base value for the vehicle being appraised.

  38. The Valuation Reports also include a “Projected Sold Adjustment” for each of the

     comparable vehicles used in the Valuation Report These Projected Sold Adjustments are.

     invariably, a downward adjustment in the value of the comparable vehicles. In the report
                                                                                                      /
     used to determine the value of the Plaintiff’s vehicle, Mitchell applied Projected Sold

     Adjustments of -$398.00, -$537.00, and -$427.00 to die three veUides used as comparable

     vehicles in the Valuation Report See Exhibit A, pp 5-6.

 39. Progressive’s Projected Sold Adjustments are used for arbitrary downward adjustments to its

     offers to pay the values of the comparable vehicles. The result of the adjustment is that the
                                                                                                  )
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      alleged value of each comparable vehicle used to determine the value of the vehicle being
                                                                                                     }
      appraised, are lower. This, in turn, is used to lower the purported value of the vehicle being

      appraised. This leads to consumers being offered, and receiving, less for their vehicle than

      they are entitled to.

  40. The Projected Sold Adjustments are simply used to reduce the amount Progressive pays to

      consumers.
                                                                                                         /
  41. Progressive begins the process of making offers for loss vehicles Rising the comparative

      appraisal methodology outlined above, and then seeks further reductions in the value of total

      loss vehicles, by adding the bogus “Projected Sold Adjustment” into the comparable vehicles

      in every Valuation Report

  42. A reduction in the market value of a vehicle’s list price based on supposed downward price
                                                                                                    *
      pressure, especially in the current market, where used cars are only available at a significant

     premium has no rational basis.

  43. Progressive’s Projected Sold Adjustments are also contrary to appraisal standards. There are '

      several generally recognized and acceptable methodologies for determining actual cash value,

     including use of comparable vehicles.                                                               /

  44. Appraisers custoinarily use advertised prices to determine the val^e of comparable vehicles,

     and only make adjustments based oh observed and verifiable dati; reasonable appraisal

     standards do not permit arbitrary adjustments from the advertised price based upon

     undocumented and unvedfiable assumptions that vehicles tend to sell below list price.

  45. The impropriety and arbitrariness of Progressive’s Projected Sold Adjustments are further;

     demonstrated by the fact that Mitchell’s primary competitor in providing automated

     valuation reports to insurance companies—CCC Intelligent Solutions—does not apply

     projected sold adjustments in this manner. Instead, CCC Intelligent Solutions uses list prices.
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 46. Plaintiff and each member of the class (“the Class”) were Hamagprf by Progressive’s failure to

     pay the true value of their cars by its use of the adjustments discussed above that were not

     proper methodologies or appraisal standards.
 47. Were it not for Defendant’s deceptive and improper adjustments^ the Plaintiff, and other
                                                                       <
     similarly situated consumers in Maine, would have received a greater amount for their total

     loss vehicles from Progressive.




                                   Cl-ASS ALLEGATIONS


 48. The Plaintiff hereby repeats and realleges the claims in each of the proceeding paragraphs.

 49. The Defendant treated the Plaintiff the same way it treats all consumers in Maine whose

    vehicles it determines to be a total loss.

 50. On information and beliefj the Defendant, or its agent Mitchell, maintains records
     containing the Valuation Reports and the financial transactions connected to each total loss

    vehicle for which Progressive was obliged to pay a claim, in Maine, during the applicable

    period, and such records would be admissible as evidence in any trial or proceeding as

     statements of a party opponent.
                                                                                                   \
 51. These records would show the amounts of the “Projected Sold Adjustments” that
                                                                           P

    Progressive made to the values of the cars of Plaintiff and the other class members.

 52. The records would identify all potential class members by name.

 53. On information and belief, the joinder of all persons who meet the class definition in a

     single proceeding would be impracticable.

 54. The claims asserted on behalf of the Plaintiff and the Class present the following issue of
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     fact and law that can and should be combined into a single acttoy
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            a. Whether the Defendant, by applying a Projected Sold Acjjustment for all total loss

                vehicles, in Maine, during the relevant time period, has violated 24-A M.R.S. § 2436-

                A(1)(A) by “knowingly misrepresenting to an insured pertinent facts. .. . related to

                die coverage at issue;”

            b. Whether the Defendant, by applying a Projected Sold Adjustment to all total loss

                vehicles, in Maine, during the relevant time period, has violated 24-A M.R.S. § 2436-

                A(1)(E) by “failing to effectuate prompt, fair and equitable settlement of Haims

                submitted in which liability has become reasonably clear;”

            c Whether the Defendant, by applying a Projected Sold Adjustment to all total loss /

               vehicles, in Maine, during the relevant time period, engaged in unfair or deceptive
                                                                           *
                trade practices, in violation of 5 M.R.S. § 207;           <

            d. If the Defendant is liable, what is the amount of damages due from them to the

                Gass;

            e. If the Defendant is liable under die Unfair Trade Practices Act^ what injunctive or*

               equitable relief to impose upon the Defendant under 5 M.R.S. § 213(1);

            £ If the Defendant is liable for conversion, what injunctive relief to impose;

            g. If the Defendant is liable for conversion, whether die Defendant acted with Malice

               toward the Plaintiff and the Gass;

            h. If the Defendant is liable for conversion, and acted with malice toward the Plaintiff

               and the Gass, the amount of punitive damages to impose.

WHEREFORE, die Plaintiff asks this Honorable Court to:                    4


       a.   Certify a class of persons, appoint the Plaintiff as class representative and his counsel as
            Gass counsel as to all of the following Counts.
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             COUNT I - 24-A M.R.S. § 2436-A — Unfa if fnaim Settlement Practices


   55. The Plaintiff hereby repeats and realleges the Haims in each of the proceeding paragraphs.

   56. By offering the Plaintiff, and the Class, less than the full market value of his vehicle, by

       inserting Projected Sold Adjustments into its Valuation Reports, the Defendant has violated
                                                                                                          i
       24-A M.R.S. § 2436-A(l)(A) by “knowingly misrepresenting to an insured pertinent

       information related to the coverage at issue.”
   57. By offering the Plaintiff and the Class less than the full market v^ue of his vehicle, by

       inserting Projected Sold Adjustments into its Valuation Reports, the Defendant has violated

       24-A M.R.S. § 2436-A(l)(E) by “[wjithout just cause, failing to effectuate prompt, fair and

       equitable settlement of claims submitted in which liability has become reasonably clear.” )


WHEREFORE, the Plaintiff asks this Honorable Court to:


          a. Find that the Defendant has violated 24-A § 2436-A;

          b. Determine the amount of damages to the Plaintiff and the Class;

          c. Impose interest at the rated of 18% per year from the time the claim should have

               been paid on any damages;

          d. Enter judgment against the Defendant; and                    *

          e. Award the Plaintiff and the Class their reasonable attorneys’ fees and costs.


             COUNT n - 5 M R S. § 205-A - Maine Unfair Trade Practices Act
                                                                                                      }


   58. The Plaintiff hereby repeats and realleges the claims in each of the proceeding paragraphs.

   59. The Plaintiff and the Class purchased the auto insurance policy at question primarily for

      personal or family use.
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  60. The Defendant’s actions to the Plaintiff and the Class, as alleged in this Complaint, are

      unfair and deceptive trade practices prohibited by 5 M.R.S. § 207.

  61. Hie Defendant’s action toward the Plaintiff and the Class, as alleged in this Complaint, are

      not authorized, permitted or required by a state or federal agenc/ or by applicable law, rule
                                                                        <
      or regulation or other regulatory approval

  62. The Plaintiff and the Class have suffered a loss of money and/or personal property because

      of the Defendant’s unfair and/or deceptive acts.


  WHEREFORE, the Plaintiff asks this Honorable Court to:


          a.   Find that the Defendant has violated 5 MJR.S. § 207;

          b. Determine the amount of damages to the Plaintiff and the Gass;
                                                                                                      i
          c Award the Plaintiff and the Class their reasonable attorneys’ fees and costs;

          d. Enjoin the Defendant from engaging in such unfair and deceptive trade practices in

               the future anywhere in the State of Maine;
                                                                        1
                                                                       <
          e. Enter judgment against the Defendant and

          f. Impose whatever other remedies the Court deems just and equitable.
                                                                                                  )

                                COUNT m - CONVERSION


  63. The Plaintiff hereby repeats and realleges the claims in each of the proceeding paragraphs.

  64. The Plaintiff and the Class, by filing a claim with Progressive, made demand for the money

     they were entitled to under their policy; they had an interest in payment of the full value of;

     their vehicle.

  65. Progressive refused to pay the Plaintiff and the Class the money they were entitled to

     pursuant to their respective claims.                              *
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Loss Vehicle Detail
Loss vehicle: 2012 Volvo XC701 4 Door Wagon 13.2L 6 Cyl Gas A FWD


Standard Equipment
Exterior
16"-CECINO-afoy wheats                                                           Aluminum roof rate w/’XC* logo t

Body-side protective lower cladding                                              Front fog lights

P215/65R16 all-season tires                                                      Pvw heated mirrors w/memoty, puddle lights, Integrated turn signals

Rear fog light w/autooff                                                         Rear wiper/Washer -Inc: automatic function in reverse when front wipers on
                                                                                                                                                       f
Safe approach S home safe security lighting                                      Variable intermittent wipers

Volvo Sensus w/integrated 7* color display


Interior
"XC door stitching                                                                *XC* hont/rear/Cargo textile floor mats

40/20/40 flat-folding rear bench -Inc: (3) manual-fold rear head restraints      AM/FM stereo W/CD/MP3/WMA player -Inc: HD Radio, 160-watt amp, (8) speakers,
                                                                                 USB input, iPod connection
Auto-dimming rearview mirror                                                      Bluetooth

Central pwr door locks, fuel filler                                               Cross avenue aluminum Inlays

Cruise control                                                                    Dual illuminated visor vanity mirrors

Duel-zone etectronic climate control (ECC) w/rear seat vents                      Flat-folding front passenger seat

Front center armrest                                                              Front door storage pockets

From reclining bucket seats w/adfustable head restraints                          Front/rear reading lamps

Ignition immobilizer                                                             IDuminated lockable glove box g
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Intelligent driver Info system (IDIS)                                             Interior cabin light delay feature

Leather shift knob -Inc: aluminum inlay                                          Leather-wrapped steering wheel w/illuminated cruise & audio controls -Inc:
                                                                                 aluminum inlay
                                                                                                                                                       t
Lockable underfloor storage In cargo area                                        - Outside temp gauge

Pollen filter                                                                    Pwr driver seat w/ad]ustable lumbar, 3-position memory
                                                                                                                            a
Pwr windows -Inc: front auto-up/down, anti-trap feature                          Rear window defroster w/timer

Remote keyless entry                                                             Security alarm system

SIRIUS satellite radio w/B-month subscription                                    T-Tec doth seating surfaces wHCC” stitching

TUt/telesooptc steering column                                                   Trip computer

Mechanical
Front wheel drive                                                                Front/rear skid plates

Frontftaar stab&lzer bars                                                        MacPherson strut from suspension

Multi-link independent rear suspension                                           Pwr 4-wheel disc brakes

Pwr parking brake w/auto release                                                 Pwr rack & pinion steering
                                                                                                                   *
Safety
                                                                                                                  A

        0 Mitchell WbrkCenter                                                                                                                          h
                   Total Loss                                                                                                                          i
                                                                              Claim 6 XX-XXXXXXX-011 ©2018 Mtchell International, Inc. AD Rights Reserved. I Page 2

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               Case 1:22-cv-00375-NT Document 1-2 Filed 11/30/22 Page 14 of 18                                                                    PageID #: 45
3-polnt seat belts -fnc pratenslonera, (font height adjustable enchors                   4-wheel antWock braking system (ABS) -Inc electronic brake distribution (EBD),
                                                                                         hydraulic brake assist (HBA), ready alert brakes (RAB), fading brake support (FBS)
Anti-submarine seats                                                                     Child safety rear door locks       f
Collapsible steering column                                                              Daytime running lights         t
Driver/ftorrt passenger dual stage airbags -Inc: (font passenger cutoff switch           Driver/front passenger whiplash protection seating system (WHIPS)

Dynamic stability & traction control (DSTC)                                              ISOFIX child seat attachments -inc top tether anchors                f
Rear window deacthratton                                                                 Side impact protection system (SIPS) -inc; driver/front passenger side-impact
                                                                                         airbags, front/rear side inflatable curtains (1C)
                                                                                                                                                                  /
Tire pressure monitoring system                                                                                                     .A




Loss Vehicle Base Value
Loss vehicle: 2012 Volvo XC701 4 Door Wagon 13.2L 6 Cyl Gas A FWD

Regional Comparable Vehicle Information

     Search Radius used for this valuation: 350 miles from loss vehicle zip/postal code.
           Typical Mileage for this vehicle: 113,000 miles


 # Vehicle Description                                                     Mileage    Location
                                                                                                    Distance From
                                                                                                     Loss Vehicle
                                                                                                                         1       Price                            Adjusted Value
      2012 VOLVO XC70 PREMIER PLUS 4D WGN 6                                                                              ’ $11,569.00
 1
      3.2NORMAL GAS A 2WD
                                                                           125,000    77015            249 miles                                                       $11,764.92
                                                                                                                             List Price
 , 2012 VOLVO XC70 PREMIER PLUS 4D WGN 6                                                                                        $15,991.00
 ^ 3.2NORMAL GAS A 2WD.                                                      82,089    36117           322 mites
                                                                                                                                  List Price
                                                                                                                                                                       $14,712.02
 > 2012 VOLVO XC70 PREMIER 4D WGN 6                                                                                             $12,700.00
                                                                           105,350     35244           323 miles                                                       $13,218.45
 * 3.2NORMAL GAS A 2WD                                                                                                            Ust Price
                                                                                                                                               Base Value:            $13,231.80




Loss Vehicle Adjustments
Loss vehicle: 2012 Volvo XC701 4 Door Wagon 13.2L 6 Cyl Gas A FWD




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                    Total Loss
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Condition Adjustments
Condition Adjustment -$462.43                    Overall Condition:   2.65-Good                     Typical Vehicle Condition: 3.00

Category                             Condition                               Conditions            Comments


 DASH/CONSOLE                        3 Good                                     $0.00
 HEADLINER                           2 Fair                                   -$23.12              some stains
 CARPET                              3 Good                                     $0.00
 GLASS                               3 Good                                     $0.00
 DOORS/INTERIOR PANELS               2 Fair                                   -$46214              greater then 3 gouges
 SEATS                               3 Good                                     $0.00


TRIM                                 3 Good                                     $0.00
 BODY                                2 Fair                                   -$277.46             creas^in right tear door
 PAINT                               2 Fair                                   -$115.61             numerous small scratches
VINYL/CONVERTIBLE TOP                Typical                                    $0.00


 ENGINE                              3 Good                                    $0.00
TRANSMISSION                         3 Good                                    $0.00



Typical Vehicle Condition reflect^ a condition similar to the same year, make and model. Amount of wear and tear/ damage
consistent with its age.


Comments:




After Market Parts and OEM Equipment Adjustments
Category           Description                                           Adjustment Type            Purchase Date        Amount Paid       Adjustment Amount
INTERIOR           FLOOR MATS (ALL-WEATHER) - 2 ROWS                     INSTANT QUOTE                                                                 $55.00



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Regional Comparable Vehicles
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Loss vehicle: 2012 Volvo XC701 4 Door Wagon 13.2L 6 Cyl Gas A FWD



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^JpioiTvOLVO XC70 PREMIER 4D WON 6 3.2 NORMAL GAS A2WD
                                                                                         7                   Ust Price: $12,700.00

VIN                       Stock No           Listing Date                    ZIP/Postal Code          Distance from Loss ^Vehicle
YV4952BL9C1125148        M76456A             02/02/2022                      35244 *                  323 miles

Source
                                      Adjustments                               Loss Vehlde           This Vehicle                        Amount
DEALER WEB LISTING - VAST.COM
HENDRICKSUBARU USED                   Projected Sold Adjustment                                                                       -$427.00
2929 JOHN HAWKINS PARKWAY             Vehicle Configuration Adjustment                                                                -$892.27
                                      Mileage                                   55,374                105,350                        $1,837.72
HOOVER AL 35244
770-232-0099                                                                                          Total Adjustments:                 $518.45
                                                                                                       Adjusted Price: $13,218.45



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Sub-Model Comparison                                                                     t
Sub-Model Description                          Configuration                                                               Original MSRP
                                                                                                                            f
                                                                                         4
2012 Volvo XC70                                4 Door Wagon 3.2L 6 Cyl Gas FWD                                                      $32,950.00

2012 VOLVO XC70 PREMIER PLUS                   4D WGN 6 3.2 NORMAL GAS A 2WD                                                    ,$37,750.00

2012 VOLVO XC70 PREMIER                        4D WGN 6 3.2 NORMAL GAS A 2WD                                                        $35,900.00


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' Vehicle Valuation Methodology Explanation
WorkCenter Total Loss was designed and built in conjunction with J.D. Powers, experts in data analysis and vehicle pricing and a highly
trusted name among consumers. With years of experience in vehicle pricing, J.D Power is a credible, third-party expert whose name
provides consumer recognition and confidence. WCTL provides a consistent methodology across all vehicles and it includes valid
comparable vehicles that most closely resemble the totaled vehicle and are similar to the vehicles a consumer would find in their own
research.

WorkCenter Total Loss produces accurate and easy-to-understand vehicle valuations via this five step process:
Step 1 - Locate Comparable Vehicles
Locate vehicles that are the closest match to the loss vehicle in the same market area. WorkCenter Total Loss utilizes consumer-based
vehicle sources along with inventory directly from Dealerships. When available WCTL also provides sold vehicle records from sources
such as J.D. Powers.
Step 2 - Adjust Comparable Vehicles
Make adjustments to the prices of the comparable vehicles. The comparable vehicles are identical to the loss vehicle except where
adjustments are itemized. There are several types of comparable vehicle adjustments
           • Projected Sold Adjustment - an adjustment to reflect consumer purchasing behavibr (negotiating a different price than the
             listed price).                                                                   '
           • Vehicle Configuration Adjustment- an adjustment for differences in configuration Between the comparable vehicle and the
             loss vehicle (e.g. differences in trim).
                                                                                                                             /
           • Mileage Adjustment - an adjustment for differences in mileage between the comparable vehicle and the loss vehicle.
           • Equipment- adjustments for differences in equipment between the comparable vehicle (e.g. equipment packages and
             options) and the loss vehicle.
Step 3 • Calculate Base Vehicle Value
The base vehicle value is calculated by averaging the adjusted prices of the comparable vehicles.
Step 4 - Calculate Loss Vehicle Adjustments
There are four types of loss vehide adjustments:
           • Condition Adjustment
             Adjustments to account for the condition of the loss vehide prior to the loss.
           • Prior Damage Adjustment
             Adjustments to account for any prior damage present on the loss vehide prior to the loss.
           • After Market Part Adjustment
             Adjustments to account for any after market parts present on the loss vehide prio^to the loss.
           • Refurbishment Adjustment
             Adjustments to account for any refurbishment performed on the loss vehide prior to the loss.
                                                                                                                                           i
Step 5 - Calculate the Market Value
The Market Value is calculated by applying the loss vehide adjustments to the base value.




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                Total Loss
                                                                    Claim # XX-XXXXXXX-011 ©2018 Mitchell International. Inc. AD Rights Reserved. I Page 7

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